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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    SHANNON NANGLE and TIMOTHY                          Case No.: 3:11-cv-00807-CAB-(BLM)
      MYERS, on behalf of themselves and all
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      others similarly situated,                          ORDER PRELIMINARILY
13                                      Plaintiffs,       APPROVING CLASS SETTLEMENT
                                                          [Doc. No. 88]
14    v.
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      PENSKE LOGISTICS, LLC, a Delaware
16    Corporation, and Does 1 through 100,
      inclusive,
17
                                     Defendants.
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            Plaintiffs initiated this putative class action lawsuit in the Superior Court of San
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      Diego County on February 28, 2011, alleging various wage and hour violations.
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      Defendants removed the case to this Court on April 18, 2011.
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            On November 30, 2016, after nearly six years of litigation, including a two year stay,
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      the parties notified the Court that they had reached a settlement. Plaintiffs filed an
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      unopposed motion for preliminary approval of the class action settlement, which is
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      memorialized in a written settlement agreement dated January 23, 2017.
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 1           After considering Plaintiffs’ motion, which includes the settlement agreement itself,
 2    as well as the proposed class notice and claims forms, the Court preliminary finds as
 3    follows:
 4           1.     The term of the Settlement are fair and reasonable and adequate, subject to
 5    further consideration at the Final Fairness and Approval Hearing described below. The
 6    Court notes that that Defendant Penske Logistics, LLC and Penske Truck Leasing Co., L.P.
 7    (collectively, “Defendant” or “Penske”) agreed to pay the Gross Settlement Amount of
 8    $500,000 in full satisfaction of the claims as more specifically described in the Agreement;
 9           2.      The Settlement was reached as a result of good faith, arms-length
10    negotiations between counsel for Plaintiffs and counsel for Defendant, culminating in a
11    full-day of mediation with respected mediator Mark Rudy, Esq.;
12           3.     The proponents of the settlement, counsel for the parties, are experienced in
13    similar litigation; and
14           4.     The Settlement confers substantial benefits upon the Settlement Class,
15    particularly in light of the damages that Plaintiff and Class Counsel believe are potentially
16    recoverable or provable at trial, without the costs, uncertainties, delays, and other risks
17    associated with continued litigation, trial, and/or appeal.
18           In light of the foregoing, it is hereby ORDERED that that Motion is GRANTED.
19    It if further ORDERED as follows:
20           1.     The Court hereby preliminarily approves of the class action settlement upon
21    the terms and conditions set forth in the Settlement Agreement,1 subject to further
22    consideration at the Fairness Hearing (as described below).
23           2.     Solely for the purposes of settlement in accordance with the Settlement
24    Agreement, the Court find that the requirements of Rule 23 of the Federal Rules of Civil
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27    1
       This Preliminary Approval Order incorporates by reference the definitions in the Settlement
      Agreement, and all terms used herein shall have the same meaning as set forth in the Settlement
28    Agreement.

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 1    Procedure and other laws and rules applicable to preliminary settlement approval of class
 2    actions have been satisfied, and the Court hereby certifies a Settlement Class consisting of:
 3            all persons employed by Penske in California as hourly paid drivers for all
              delivery accounts, excluding any employees assigned to the California
 4
              Whirlpool Account, at any time during the period from February 27, 2007
 5            through the date of an Order granting preliminary approval of the Settlement,
              or 90-days from the date of November 22, 2016, whichever is sooner.
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 7
              3.    Michael D. Singer and J. Jason Hill of Cohelan Khoury & Singer are
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      appointed to serve as Class Counsel.
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              4.    Plaintiffs Shannon Nangle, k/n/a Shannon Deponceau, and Timothy Myers
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      are appointed to serve as the representatives for the Class.
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              5.    The Court hereby authorizes the retention of CPT Group, Inc., as the
12
      Settlement Administrator for purposes of this Settlement.
13
              6.    The Final Approval hearing shall be held before the undersigned at 10:00 a.m.
14
      on Monday May 22, 2017, in Courtroom 4C of the United States District Court –
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      Southern District of California, 221 West Broadway, 4th Floor, San Diego, California
16
      92101 to consider the fairness, adequacy and reasonableness of the proposed Settlement
17
      preliminarily approved by this Order of Preliminary Approval, and to consider the
18
      application for approval of the Settlement Administration fees and expenses incurred.
19
      Class Counsel shall file a motion for final approval of the Settlement no later than May 1,
20
      2017.
21
              7.    The Court will hear Plaintiffs’ Uncontested Application for an Award of
22
      Attorneys’ Fees and Costs and the request for Class Representative Enhancement Awards2
23
      at the same time as the Final Approval hearing. All papers in support of the requests shall
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       The Court’s initial inclination is to deny the request to award each class representative $10,000. The
27    award seems excessive in light of the facts that Gross Settlement Amount is $500,000 and all other class
      members are projected to receive approximately $550 and Mr. Myers only joined this action in July
28    2016.

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 1    be served and filed with the Court by May 1, 2017.
 2          8.     Approval of Form of Notice. The Court hereby approves, as to form and
 3    content, the form of notice annexed at Exhibit 1 to the Settlement Agreement. The Court
 4    finds that the Notice adequately advices Class Members of (a) the pendency of the Class
 5    Action; (b) preliminary Court approval of the proposed Settlement; (c) the date of the Final
 6    Fairness/Approval Hearing; (d) the terms of the proposed Settlement and the benefits
 7    available to Class Members thereunder; (e) the automatic payment to each Class Member
 8    who does not opt out of his/her proportional share of the settlement proceeds without the
 9    necessity of submitting a claim form; (f) the right to object to the settlement and procedure
10    deadline for doing so; (g) the right to request exclusion and procedure and deadline for
11    doing so; and (h) the right to file documentation in support of or in opposition to, and to
12    appear in connection with, the hearing. The Court finds that the Notice clearly comports
13    with all constitutional requirements, including those of due process.
14          9.     Approval of Notice Procedures. The Court hereby approves the procedures
15    set forth in the Settlement Agreement, and described below, for providing notice to the
16    proposed Settlement Class. The Court finds that the procedures are fair, reasonable, and
17    adequate; the best notice practicable under the circumstances; consistent with due process;
18    and shall constitute due and sufficient notice to all persons entitled thereto.
19          10.    Within seven (7) calendar days of the entry of this Order, the Court hereby
20    orders Defendant Penske to forward to the appointed Settlement Administrator, the Class
21    List as provided for by the terms of the proposed Settlement;
22          11.    Within fourteen (14) calendar days of receipt of the Class List, the Court
23    hereby orders the Settlement Administrator to mail to each Class Member pursuant to the
24    terms of the Agreement, by first class, postage pre-paid, the Notice of Class Action
25    Settlement and Change of Address Form (collectively the “Notice Packet”).
26          12.    The Court hereby orders that Class Members requesting exclusion from the
27    Settlement must postmark and mail their opt-out letters to the Settlement Administrator no
28    later than sixty (60) calendar days from the initial mailing of the Notice Packet to the Class.

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 1    The timeframe to submit an Exclusion Request will not be increased form returned Notice
 2    Packet Mailings.
 3          13.    The Court hereby orders that objections to the Settlement must be made in
 4    writing and postmarked no later than sixty (60) calendar days from the initial mailing of
 5    the Notice Packet to the Class. Objections must be submitted with the Clerk of the Court
 6    at the following address: U.S. District Court, Southern District of California, Office of
 7    the Clerk, 333 West Broadway, Suite 420, San Diego, California 92101. In addition, a
 8    copy of the objection must be mailed to the Settlement Administrator. Written objections
 9    shall state: (a) the objecting person’s full name, address, and telephone number; (b) the
10    case name and number; (c) the words “Notice of Objection” or “Formal Objection”; (d) in
11    clear and concise terms, the legal and factual arguments supporting the objection; and (e)
12    a list identifying any witnesses the objector may call to testify at the fairness hearing. The
13    objection must also provide true and correct copies of any exhibit(s) the objector intends
14    to offer at the Final Fairness hearing.
15          14.    The Court hereby orders that Notices of Intention to Appear at the Final
16    Approval Hearing must be made in writing and postmarked no later than sixty (60) calendar
17    days from the initial mailing of the Notice Packet to the Class. The Notice of Intention to
18    Appear must be submitted with the Clerk of the Court at the following address: U.S.
19    District Court, Southern District of California, Office of the Clerk, 333 West
20    Broadway, Suite 420, San Diego, California 92101. In addition, a copy of the Notice of
21    Intention to Appear must be mailed to the Settlement Administrator. Unless otherwise
22    permitted by the Court, no Class Member may be heard at the Final Approval Hearing
23    unless written notice of the Class Member’s intention to appear at the Hearing is submitted
24    to the Court and mailed to the Settlement Administrator.
25          15.    If for any reason the Court does not execute and file an Order of Final
26    Approval, or if the Effective Final Settlement Date, as defined by the Agreement, does not
27    occur for any reason whatsoever, the Agreement and the proposed Settlement subject of
28    this Order and all evidence and proceedings had in connection therewith, shall be null and

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 1    void and without prejudice to the status quo ante rights of the Parties to the litigation as
 2    more specifically set forth in the Agreement.
 3          16.    Pending further order of the Court, all proceedings in this matter except those
 4    contemplated herein and in the Agreement are stayed.
 5          17.    The Court expressly reserves the right to adjourn or continue the Final
 6    Fairness / Final Approval hearing from time-to-time without further notice to Class
 7    Members, except that notice of a continuance shall be provided to Class Members who
 8    may submit objections.
 9          IT IS SO ORDERED.
10    Dated: February 6, 2017
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